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 4   harralsonlaw@sbcglobal.net

 5   Attorney for Defendant, CHARLIE STEVENSON

 6
                                 UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9
                                                     )
     UNITED STATES OF AMERICA,                       ) Case No.: 1:16-CR-00176 AND 1:16-CR-00187
10                                                   )
                        Plaintiff,                   ) STIPULATION TO CONTINUE
11          vs.                                      ) SENTENCING HEARING; ORDER
                                                     )
12                                                   )
     CHARLIE STEVENSON                               ) Sentencing Date: February 10, 2020
13                                                   ) Time: 10:00 a.m.
                       Defendant.                    ) Judge: Dale A. Drozd
14
                                                     )
15
            IT IS HEREBY STIPULATED by and between the parties hereto, and through their
16
     respective attorneys of record, that the sentencing hearing in the above captioned matter now set
17
     for February 10, 2020 at 10:00 am, may be continued to March 9, 2020.
18
            The continuance is requested by counsel for Defendant, CHARLIE STEVENSON as
19
     Attorney Daniel L. Harralson by this Stipulation is asking authority from the Court to perform
20   work necessary to present all relevant sentencing issues to the Court.
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          Case 1:16-cr-00187-DAD-BAM Document 151 Filed 02/07/20 Page 2 of 2



 1   DATED: February 5, 2020                 Respectfully Submitted,
                                             DANIEL L. HARRALSON ATTORNEY AT LAW
 2
                                                 /s/ Daniel Harralson
 3                                           DANIEL L. HARRALSON
                                             Attorney for Defendant
 4

 5
     DATED: February 5, 2020                 UNITED STATES ATTORNEYS OFFICE
 6

 7                                               /s/ Kimberly A. Sanchez
                                             KIMBERLY A. SANCHEZ
 8                                           Assistant United States Attorney
 9
                        ---------------------------------------------------------------------
10

11

12                                                   ORDER

13          IT IS ORDERED that sentencing in this matter is continued from February 10 , 2020, to

14   March 9, 2020, at 10 am.

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     IT IS SO ORDERED.
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        Dated:    February 7, 2020
18                                                            UNITED STATES DISTRICT JUDGE

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